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    UNITED STATES BANKRUPTCY COURT
    DISTRICT OF NEW JERSEY
    Caption in Compliance with D.N.J. LBR 9004-1(b)

    FOX ROTHSCHILD LLP
                                                                        Order Filed on January 3, 2023
    49 Market St.                                                       by Clerk
    Morristown, NJ 07960                                                U.S. Bankruptcy Court
    Joseph J. DiPasquale, Esq.                                          District of New Jersey
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    Counsel to the Debtor and Debtor in Possession

    In re:
                                                                Chapter 11 (Subchapter V)
    ASSUNCAO BROS., INC.,
                                                                Case No. 22-16159
                               Debtor.
                                                                Judge: Hon. Christine M. Gravelle

               ORDER GRANTING FIRST INTERIM APPLICATION OF
       KCP ADVISORY GROUP, LLC AS FINANCIAL ADVISORS TO THE DEBTOR
       FOR ALLOWANCE OF COMPENSATION FOR PROFESSIONAL SERVICES
         RENDERED AND REIMBURSEMENT OF EXPENSES INCURRED FOR
          THE PERIOD FROM AUGUST 3, 2022 THROUGH OCTOBER 31, 2022


                 The relief set forth on the following page numbered 2 is hereby ordered.




DATED: January 3, 2023




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 Page 2 of 2
 In re:         Assuncao Bros., Inc.
 Case No:       22-16159 (CMG)
 TITLE:         ORDER GRANTING FIRST INTERIM APPLICATION OF KCP ADVISORY GROUP, LLC AS
                FINANCIAL ADVISORS TO THE DEBTOR FOR ALLOWANCE OF COMPENSATION FOR
                PROFESSIONAL SERVICES RENDERED AND REIMBURSEMENT OF EXPENSES INCURRED FOR
                THE PERIOD FROM AUGUST 3, 2022, THROUGH OCTOBER 31, 2022




         The Court having found that the person(s) named below filed application(s) for allowances;

 and notice and opportunity for hearing were given to creditors and other parties in interest as

 required; and for good cause shown; it is

         ORDERED, that the compensation and expenses are allowed as follows:

           APPLICANT                           FEES                          EXPENSES

         KCP Advisory Group, LLC                      $124,198.00            $803.15
         Financial Advisor to the Debtor

         IT IS FURTHER ORDERED, that KCP be and herby is authorized to apply the Retainer

 (as defined in the Application) to reduce the awarded fees and expenses.

         IT IS FURTHER ORDERED, that the Debtor shall pay the above amount, net of the

 Retainer, to Applicant forthwith.

         IT IS FURTHER ORDERED, that notwithstanding the entry of this Order or anything set

 forth herein or in the Application, NGM Insurance Company’s (“NGM”) claims and rights against

 KCP, if any, as a transferee of any trust funds are preserved, and nothing herein shall affect such

 rights and claims. The rights and defenses of KCP with respect to any rights and claims preserved

 for NGM under this paragraph are preserved.




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